                     IN THE UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                              SOUTHERN DIVISION
                                Case No. 7:23-cv-897

IN RE:                                         )
CAMP LEJEUNE WATER LITIGATION                  )
                                               ) PLAINTIFFS’ NOTICE OF FILING
                                               ) TRACK 1 TRIAL PLAINTIFFS
This Document Relates To:                      )
ALL CASES                                      )

        Plaintiffs’ Leadership Group (“PLG”) files this Notice of Filing – Track 1 Trial Plaintiffs

 Selection pursuant to Order Regarding Track 1 Trial Plaintiff Selection Protocol (Case

 Management Order No. 12) [D.E. 232]. The Track 1 Trial Plaintiffs proposed by the PLG are as

 follows:

                                          Bladder Cancer

              Jefferson Criswell v. USA                Case No. 7:23-cv-01482-BO-BM
                Terry F. Dyer v. USA                    Case No. 7:23-cv-00357-D-RJ
              Mark A. Cagiano v. USA                   Case No. 7:23-cv-00569-BO-RN


                                          Kidney Cancer


               Frank Mousser v. USA                     Case No. 7:23-cv-00667-D-RN
              Allan W. Howard v. USA                      Case No. 7:23-cv-00490-FL
              David W. Fancher v. USA                  Case No. 7:23-cv-00275-M-BM

                                            Leukemia

             Joseph M. Gleesing v. USA                    Case No. 7:23-cv-01486-FL
     Vivian Connard, Representative of Stephen
             Matthew Connard v. USA                     Case No. 7:23-cv-01557-M-RN
              Bruce W. Hill v. USA                      Case No. 7:23-cv-00028-M-KS


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                                  Non-Hodgkin’s Lymphoma

     Frances Carter as Personal Representative
       of the Estate of Ronald Carter v. USA           Case No. 7:23-cv-01565-M-KS
               Robert A. Kidd v. USA                     Case No. 7:23-cv-01489-FL
               Cometto Davis v. USA                   Case No. 7:23-cv-00043-BO-BM

                                      Parkinson’s Disease

         Edgar Allen Peterson, IV v. USA               Case No. 7:23-cv-01576-M-RJ
              Gary McElhiney v. USA                    Case No. 7:23-cv-01368-BO-RJ
              Diane Rothchild v. USA                   Case No. 7:23-cv-00858-D-KS


DATED this 15th day of June, 2024.                   Respectfully submitted,
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